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 6                           IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
     United States of America,                            No. CR-22-08092-001-PCT-DGC
 9
                    Plaintiff,
10
             vs.                                      [PROPOSED] PROTECTIVE ORDER
11
12   Samuel Rappylee Bateman,
13                  Defendant.
14
15          Pursuant to Federal Rule of Criminal Procedure 16(d)(1), the United States’ motion,
16   no objection from the defendant, and good cause appearing,
17          IT IS HEREBY ORDERED that the United States’ motion for a protective order
18   is GRANTED.
19          IT IS FURTHER ORDERED that:
20          1.     The United States may disclose to defense counsel, without redaction, the
21   discovery materials, which include private and personally identifying information
22   (collectively “PII”).
23          2.     Defense counsel may share these materials with members of the defense
24   team, including experts, investigators, and other professionals retained by the defendant or
25   defense counsel to assist in the preparation of the defense.
26          3.     The defense team shall safeguard and shall not disclose the materials
27   provided to them, other than to the extent necessary to prepare the defense.
28          4.     The defense team may review these materials with the defendant and
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 1   potential witnesses to the extent necessary to prepare the defense.
 2          5.     The defendant and potential witnesses shall not be allowed to retain any of
 3   these materials during the course of the litigation.
 4          6.     The defense team shall destroy, at the conclusion of this matter, all of these
 5   discovery materials in its possession, except that defense counsel shall be allowed to retain
 6   these materials until the time expires for all appeals, collateral attacks, other writs or
 7   motions challenging the conviction or sentence, and actions for professional malpractice.
 8          IT IS FURTHER ORDERED that excludable delay under 18 U.S.C. § 3161(h)
 9   ____________ will commence on ____________________________ for a total of
10   __________days.
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